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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

MATTHEW D. WILLIAMS,                  :
                                      :
    Plaintiff,                        :
                                      :
    v.                                :     CASE NO. 3:15cv673(RNC)
                                      :
RUSHMORE LOAN MANAGEMENT              :
SERVICES, LLC,                        :
                                      :
    Defendant.                        :

                      ORDER ON DISCOVERY MOTIONS

    Plaintiff, Matthew D. Williams, brings this action pursuant

to the Fair Debt Collection Practices Act (“FDCPA”) alleging

that defendant Rushmore Loan Management Services, LLC

(hereinafter “Rushmore”) engaged in improper collection tactics

by making misrepresentations and communicating directly with

plaintiff about his mortgage despite knowing that he was

represented by counsel.    Pending before the court are

plaintiff’s motion to compel (doc. #50) and defendant’s motion

for protective order. (Doc. #58.)     I heard oral argument on

February 10, 2016.     For the following reasons, plaintiff’s

motion is GRANTED IN PART and DENIED IN PART and defendant’s

motion is GRANTED.

  I. Plaintiff’s Motion to Compel

    I rule on the disputed discovery requests as follows.
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          A. Requests #1 & 7 – Servicing Agreement

     Rushmore objects to producing its unredacted servicing

agreement on the ground that it contains confidential and

proprietary business information that would cause irreparable

harm if it were disclosed.        Rushmore makes no showing to support

this argument.      “The mere fact that defendant deems these items

to be proprietary does not (by itself) render them to be

proprietary.”      Demutis v. Sally Beauty Supply LLC, No. 09CV92A,

2010 WL 1038679, at *3 (W.D.N.Y. Mar. 19, 2010).            “[M]erely

labeling the material ‘proprietary and confidential’ is not by

itself sufficient to bar its production.”           Novomoskvovsk Joint

Stock Co. “Azot” v. Revson, No. 95 CIV. 5399 (BSJ), 1996 WL

282085, at *1 (S.D.N.Y. May 28, 1996).          The objection is

therefore overruled.

     Rushmore also objects that the servicing agreement is

irrelevant.1      This objection is overruled in part, and

plaintiff’s motion to compel is granted in part.            To the extent

that any sections of the servicing agreement discuss or relate

to Rushmore’s policies and protocols on debt collection or loss

mitigation, Rushmore must disclose them to plaintiff.




     1
      The parties agreed at oral argument that plaintiff is not
entitled to, nor does he request, disclosure of any pricing
information redacted from the servicing agreement.
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       B. Request #3 – Attorney Account Notes

    This request was refined at oral argument to 354 pages of

communications between Rushmore and its counsel.        Rushmore

objects, arguing that the communications are protected from

disclosure by the attorney client privilege and the work product

doctrine.    It offers to produce the documents for in camera

inspection.

    “Where, as here, there is federal question jurisdiction,

the court must apply federal common law with respect to

attorney-client privilege. Fed.R.Evid. 501.”       Leone v. Fisher,

No. 3:05CV521 (CFD)(TPS), 2006 WL 2982145, at *3 (D. Conn. Oct.

18, 2006).    “The privilege protects not only the advice of the

attorney to the client, but also the information communicated by

the client that provides a basis for giving advice.”         Chen-Oster

v. Goldman, Sachs & Co., 293 F.R.D. 547, 554 (S.D.N.Y. 2013).

“[I]n order to invoke the attorney-client privilege, a party

must demonstrate that there was: (1) a communication between

client and counsel, which (2) was intended to be and was in fact

kept confidential, and (3) made for the purpose of obtaining or

providing legal advice.”    Rapkin v. Rocque, 87 F. Supp. 2d 140,

143 (D. Conn. 2000) (internal quotation marks omitted).         “It is

axiomatic that the burden is on a party claiming the protection

of a privilege to establish those facts that are the essential

elements of the privileged relationship . . . a burden not

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discharged by mere conclusory or ipse dixit assertions.”         In re

Grand Jury Subpoena Dated Jan. 4, 1984, 750 F.2d 223, 224–25 (2d

Cir. 1984).

    “The work product doctrine is distinct from and broader

than the attorney-client privilege.”      United States v. Nobles,

422 U.S. 225, 238 n. 11 (1975) (citing Hickman v. Taylor, 329

U.S. 495, 508 (1947)).     The work product doctrine shields from

disclosure documents and other materials prepared in

anticipation of litigation or trial by a party or a party’s

representative, absent a showing of substantial need and the

inability to obtain the substantial equivalent without undue

hardship.     Fed.R.Civ.P. 26(b)(3)(A); see also In re Grand Jury

Subpoenas Dated Oct. 22, 1991 and Nov. 1, 1991, 959 F.2d 1158,

1166 (2d Cir. 1992).     “Where a document was created because of

anticipated litigation, and would not have been prepared in

substantially similar form but for the prospect of that

litigation, it falls within Rule 26(b)(3).”       United States v.

Adlman, 134 F.3d 1194 (2d Cir. 1998).

    “[T]he work-product doctrine [also] shelters the mental

processes of the attorney, providing a privileged area within

which he can analyze and prepare his client’s case.”         Nobles,

422 U.S. at 238.     “An attorney’s protected thought processes

include preparing legal theories, planning litigation strategies

and trial tactics, and sifting through information.”         Salomon

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Bros. Treasury Litig. v. Steinhardt Partners, L.P., 9 F.3d 230

(2d Cir. 1993).   The doctrine extends to notes, memoranda,

correspondence, witness interviews, and other materials, whether

they are created by an attorney or by an agent for the attorney.

See Nobles, 422 U.S. at 238–39; Carter v. Cornell Univ., 173

F.R.D. 92, 95 (S.D.N.Y. 1997).

    With these principles in mind, counsel are ordered to meet

and confer in a good faith effort to select a sample of the

withheld communications.    See, e.g., Mehta v. Ace Am. Ins. Co.,

No. 3:10CV1617 (RNC), 2013 WL 3105215, at *1 (D. Conn. June 18,

2013) (finding defendant’s privilege log to be insufficient,

court “invited defendant to submit a sample of the allegedly

privileged documents for in camera inspection”).        By February

23, 2016, Rushmore’s counsel shall submit to chambers for in

camera inspection a representative sample that best illustrate

the issues raised by the parties.      See Makhoul v. Watt, No. 11-

CV-05108 (PKC)(VMS), 2014 WL 977682, at *5 (E.D.N.Y. Mar. 12,

2014) (noting that “the first step to settling the privilege

dispute [is] to conduct an in camera review of a sample of

documents from defendants’ privilege log to determine whether

they contain[] any information relevant to the existence of an

attorney-client relationship).     The court will rule on the

representative samples in the hope that such ruling will

facilitate resolution of the pending dispute.       See, e.g., Unidad

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Latina En Accion v. U.S. Dep’t of Homeland Sec., 253 F.R.D. 44,

46 (D. Conn. 2008) (district court ordered counsel to submit “a

discrete number of documents” for in camera inspection and

ruling in an attempt to resolve dispute); see also Honda Lease

Trust v. Middlesex Mut. Assur. Co., No. 3:05CV1426(RNC), 2007 WL

2889468, at *1 (D. Conn. Sept. 28, 2007) (same).

       C. Request #4 – Phone Calls

    Prior to oral argument, the parties resolved this dispute

and thus, plaintiff’s motion to compel request for production #4

is denied as moot.

       D. Request #10 – Retainer Agreement

    Rushmore withheld its retainer agreement and certain

communications regarding its hiring of defense counsel, claiming

that the information is protected from disclosure by attorney

client privilege and the work product doctrine.        Rushmore

represents that the retainer agreement is more than a simple

retainer agreement because it reflects discussions between

attorney and client about the prosecution of mortgage

foreclosures.

    Rushmore must disclose a redacted retainer agreement to

plaintiff and submit the portion withheld on the basis of

privilege for in camera inspection.      See, e.g., Torres v.

Toback, Bernstein & Reiss LLP, 278 F.R.D. 321 (E.D.N.Y. 2012)

(holding that retainer agreement between debt collection firm

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and its client was not subject to attorney-client privilege,

where identity of firm’s client was not secret, nothing of

confidential nature would be revealed by production of

agreement, and firm had failed to identify any other special

circumstances warranting application of privilege).

Additionally, to the extent plaintiff contends that any

communications identified in the privilege log are responsive to

this request, the parties must include a representative sample

for the court’s in camera inspection by February 23, 2016.

       E. Request #16 – Communications with Credit Bureaus

    Rushmore disclosed a report containing the dates it

reported to the credit bureaus (doc. #52-5, “Bates 1484”), but

did not produce the records used to generate the report or

explain the abbreviations and codes in the report.        At oral

argument, plaintiff’s counsel agreed to accept an affidavit of

Rushmore’s employee, Michael Bennett, explaining the reference

codes used in Bates 1484 in lieu of the underlying records.

Plaintiff’s motion to compel this aspect of request for

production #16 is granted as modified in open court.

    Plaintiff also seeks disclosure of two of plaintiff’s

credit reports dated July 7, 2014 and September 4, 2014.         At

oral argument, Rushmore did not oppose the request.        Plaintiff’s

motion to compel the two additional credit reports is granted

absent objection.

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  II.     Rushmore’s Motion for Protective Order

     Rushmore moves the court to enter a protective order in

connection with the notices of deposition of Rushmore employees

John Torres and Michael Bennett, who reside and work in

California and Texas, respectively.          Rushmore argues that the

depositions are irrelevant and disproportionate to the needs of

the case.     Plaintiff responds that the depositions are necessary

to discover information about Rushmore’s collection and loss

mitigation policies.

     “The court may, for good cause, issue an order to protect a

party or person from annoyance, embarrassment, oppression, or

undue burden . . . including . . . forbidding the disclosure or

discovery.”      Fed.R.Civ.P. 26(c)(1).      “The burden of showing good

cause for the issuance of a protective order falls on the party

seeking the order . . . .        To establish good cause under Rule

26(c), courts require a particular and specific demonstration of

fact, as distinguished from stereotyped and conclusory

statements.”      Torcasio v. New Canaan Bd. of Ed., No.

3:15CV00053(AWT), 2016 WL 312102, at *2 (D. Conn. Jan. 26, 2016)

(citations and internal quotation marks omitted).

     Federal Rule 26(b)(1), as amended December 1, 2015,2 sets

forth the scope and limitations of permissible discovery:


     2
      The depositions were noticed on December 14, 2015, after
the effective date of the amendment. (Doc. #58-1; 58-2.)
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  Parties may obtain discovery regarding any nonprivileged
  matter that is relevant to any party’s claim or defense
  and proportional to the needs of the case, considering
  the importance of the issues at stake in the action, the
  amount in controversy, the parties’ relative access to
  relevant   information,  the  parties’   resources,  the
  importance of the discovery in resolving the issues, and
  whether the burden or expense of the proposed discovery
  outweighs its likely benefit.

Fed.R.Civ.P. 26(b)(1) (emphasis added).      In his 2015 Year-

End Report, United States Supreme Court Chief Justice John

Roberts discussed the December 1, 2015 amendment to Rule

26(b), stating that the amended rule requires lawyers to

“size and shape their discovery requests to the requisites

of a case.    Specifically, the pretrial process must provide

parties with efficient access to what is needed to prove a

claim or defense, but eliminate unnecessary or wasteful

discovery.”    Chief Justice’s 2015 Year–End Report,

www.supremecourt.gov/publicinfo/year-end/2015year-

endreport.pdf, at p. 7 (last visited Feb. 16, 2016).

    The advisory committee’s notes explain that “[a] party

claiming that a request is important to resolve the issues

should be able to explain the ways in which the underlying

information bears on the issues as that party understands them.

The court’s responsibility, using all the information provided

by the parties, is to consider these and all the other factors

in reaching a case-specific determination of the appropriate



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scope of discovery.”    Fed.R.Civ.P. 26 advisory committee’s note

to 2015 amendment.

     Plaintiff has not made an adequate showing to support the

depositions of these two witnesses.      Plaintiff was able to file

and argue his motion for summary judgment without the benefit of

this discovery.   He has not made a specific proffer of the

testimony he seeks to obtain from Torres and Bennett or how the

testimony would be used to resolve the issues in this case.            The

parties have conducted a fair amount of discovery, and these

depositions appear to be of marginal utility.3        Additionally,

although counsel cannot precisely calculate the cost of the

depositions or estimate plaintiff’s potential damages, it is

obvious that the potential damages are not high,4 and that the


     3
      The FDCPA is a strict liability statute. It forbids a debt
collector from using “false, deceptive, or misleading
representations or means in connection with the collection of
any debt.” 15 U.S.C. § 1692e; see also Russell v. Equifax
A.R.S., 74 F.3d 30, 33 (2d Cir. 1996) (“Because the Act imposes
strict liability, a consumer need not show intentional conduct
by the debt collector to be entitled to damages.”); see, e.g.,
Clayson v. Rubin & Rothman, LLC, 751 F. Supp. 2d 491, 496
(W.D.N.Y. 2010) (“Since the FDCPA is a strict-liability statute,
the undisputed evidence of defendant’s communications suffices
to establish, as a matter of law, that those communications
violated [the FDCPA].”)
     4
      If successful, plaintiff’s damages would be limited to: (1)
actual damages, including compensation for any emotional
distress he might have suffered as a result of Rushmore’s
putatively illegal collection tactics; (2) additional damages as
the court may allow, up to $1,000; and (3) costs and reasonable
attorney fees. See 15 U.S.C. § 1692k(a). Plaintiff’s counsel
agreed at oral argument that plaintiff’s emotional distress is
only of the “garden variety.” Gervais v. O’Connell, Harris &
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cost of preparing for and taking these depositions is

disproportionate to the needs of the case and plaintiff’s

potential recovery.

    Rushmore’s motion for protective order as to the

depositions of Torres and Bennett is granted.

  III. Conclusion

    For the foregoing reasons, plaintiff’s motion to compel

(doc. #50) is GRANTED IN PART and DENIED IN PART and Rushmore’s

motion for protective order (doc. #58) is GRANTED.

    SO ORDERED at Hartford, Connecticut this 16th day of

February, 2016.

                                 _________/s/___________________
                                 Donna F. Martinez
                                 United States Magistrate Judge




Associates, Inc., 297 F. Supp. 2d 435, 440 (D. Conn. 2003) (“The
FDCPA permits a court to award damages for emotional
distress.”). There are no punitive damages. Id.
                                   11
